       CASE 0:21-cr-00142-DSD-ECW Doc. 194 Filed 05/08/23 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Criminal No. 21-142(1) (DSD)

 UNITED STATES OF AMERICA,                   )
                                             )
                     Plaintiff,              )
                                             ) GOVERNMENT’S POSITION
       v.                                    ) REGARDING SENTENCING
                                             )
 MARK ALLEN MILLER,                          )
                                             )
                     Defendant.              )


      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Joseph H. Thompson,

Assistant United States Attorney, submits the following sentencing memorandum

and respectfully requests that the Court impose a sentence of 24 months in prison.

I.    BACKGROUND

      Mark Miller participated in a pump-and-dump stock manipulation scheme. He

and his co-conspirators carried out a scheme to surreptitiously hijack and assume

control over dormant public shell companies. After taking control of the companies,

they issued fraudulent press releases and public filings designed to pump up the stock

price. The defendants then dumped their stock at the fraudulently inflated prices.

      A.     Pump-and-Dumps and Dormant Shell Companies

      Generally, a pump-and-dump is a scheme to inflate a stock’s price based on

false, misleading, or fraudulent information. Participants in the scheme acquire

shares of the stock at low prices, artificially inflate the price of the stock, then sell

their shares at the inflated price.
       CASE 0:21-cr-00142-DSD-ECW Doc. 194 Filed 05/08/23 Page 2 of 5




      The particular pump-and-dump scheme involved the hijacking of dormant

public shell companies. Dormant public shells are publicly traded companies without

active operations. Most of them have been abandoned by their management, stopped

filing their required Securities and Exchange Commission (SEC) and secretary of

state filings, and often have revoked registration.

      Dormant public shells remain publicly traded on the over-the-counter (OTC)

markets. These stocks generally trade for fractions of a penny per share—often

$0.0001 per share. They are thinly traded, with very few shares trading on any given

day. As a result, dormant public shells are ripe for manipulation through pump-and-

dump schemes. In the words of the SEC, “empty shell companies are to stock

manipulators and pump-and-dump schemers what guns are to bank robbers—the

tools by which they ply their illegal trade.”

      B.     The Shell Hijacking Scheme

      Mark Miller is a residential contractor in Breezy Point, Minnesota. He served

on the Breezy Point city council. Miller has been an active trader of penny stocks for

several years. Miller had a large following on Twitter and iHub.com, a popular

website devoted to penny stocks and the OTC market. He used those platforms to

promote penny stocks.

      In 2017 and 2018, Miller participated in a scheme to identify and hijack

dormant public shell companies for use in pump-and-dump schemes. He conspired

with OTC trades in New York and elsewhere to carry out the scheme. They used a

four-step process to hijack and manipulate a shell company’s stock.



                                           2
       CASE 0:21-cr-00142-DSD-ECW Doc. 194 Filed 05/08/23 Page 3 of 5




      First, Miller and his co-conspirators bought stock in the shell company (or

“frontloaded”) at low prices in the public markets. They were able to obtain hundreds

of thousands or even millions of shares given the penny stocks’ extremely low prices.

      Second, Miller and his co-conspirators took control over the shell companies

through fraudulent public filings. They did this by creating fake resignation letters

and board minutes announcing the resignation of the prior corporate officers and the

appointment of the conspirators as the new officers and directors of the company.

They used these fake documents to reinstate the companies’ corporation registration.

These new secretary of state documents listed the conspirators as the corporate

officers and directors. They used these new, fraudulently obtained corporate

registration documents to change the password for the companies’ account on the

SEC’s EDGAR website, which allowed them to make public filings on behalf of the

company.

      Third, Miller and his co-conspirators issued fraudulent press releases and SEC

filings to pump up the stock price. The press releases or reports announced market-

moving information, such as a potential merger or new business opportunity. At the

same time, they promoted and pumped up the stock price via Twitter and posts on

investorhub.com, a website with a popular message board devoted to penny stocks.

      Finally, Miller and his co-conspirators sold (or “dumped”) their shares at the

fraudulently inflated stock price. This mass selling generally trashed the stock price,

leaving unsuspecting investors holding nearly worthless shell company stock.




                                          3
       CASE 0:21-cr-00142-DSD-ECW Doc. 194 Filed 05/08/23 Page 4 of 5




      Miller and his co-conspirators hijacked multiple public shell companies,

including Bell Buckle Holdings Inc. (OTC: BLLB), Encompass Holdings Inc. (OTC:

ECMH), and Utilicraft Inc. (OTC: UITA). In all, Miller made approximately $40,000

from the scheme.

      On October 14, 2021, Miller pled guilty to one count of conspiracy to commit

securities fraud, in violation of 18 U.S.C. § 371 and 15 U.S.C. § 78j(b).

II.   GOVERNMENT’S SENTENCING RECOMMENDATION

      Based on a review of the § 3553(a) factors, the government recommends that

the Court impose a sentence of 24 months in prison.

      Miller participated in a complex securities fraud scheme. He and others

identified dormant public shell companies and essentially stole them from their

existing owners. They then used their control over the companies to issue fraudulent

press releases designed to deceive the investing public and fraudulently inflate the

price of the stock. He and his co-conspirators then dumped their stock on

unsuspecting investors at the inflated prices.

      Nothing in Miller’s background explains or excuses his crime. Miller is a

successful small-business owner with a sizeable net worth. PSR ¶¶74, 79. He has a

wife and two kids. PSR ¶66. Prior to being charged in this case he was a member of

the city council in Breezy Point, Minnesota. PSR ¶75. His crime defies explanation.

      By imposing a sentence of 24 months, the Court will emphasize that financial

crimes will be punished severely, even where the participants are middle class

professionals and not street criminals. United States v. Stefonek, 170 F.3d 1030, 1038

(7th Cir. 1999) (“Business criminals are not to be treated more leniently than
                                           4
       CASE 0:21-cr-00142-DSD-ECW Doc. 194 Filed 05/08/23 Page 5 of 5




members of the ‘criminal class’ just by virtue of being regularly employed or otherwise

productively engaged in lawful economic activity.”); United States v. Stall, 581 F.3d

276, 286 (6th Cir. 2009) (“We do not believe criminals with privileged backgrounds

are more entitled to leniency than those who have nothing left to lose.”). As the

Seventh Circuit has explained:

       It is natural for judges, drawn as they (as we) are from the middle or
       upper-middle class, to sympathize with criminals drawn from the same
       class. But in this instance we must fight out nature. Criminals who have
       education and training that enables people to make a decent living
       without resorting to crime are more rather than less culpable than their
       desperately poor and deprived brethren in crime.

Stefonek, 170 F.3d at 1038.

       Miller participated in a complex securities fraud scheme. He carried out the

scheme with co-conspirators located across the United States. And he did so out of

greed, not necessity. In light of the nature complexity of his scheme, absent any

further motion, a sentence of 24 months is appropriate.

III.   CONCLUSION

       For the reasons stated above, the Government respectfully requests that the

Court impose a sentence of 24 months in prison.



Dated: May 8, 2023                            Respectfully Submitted,

                                              ANDREW M. LUGER
                                              United States Attorney

                                              /s/ Joseph H. Thompson
                                        BY:   JOSEPH H. THOMPSON
                                              Assistant U.S. Attorney



                                          5
